                 Case 17-35506                    Doc 8          Filed 12/19/17 Entered 12/19/17 11:30:38                       Desc Main
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 Fill in this information to identify the case:

 Debtor name         SaveUp Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         17-35506
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 19, 2017                       X /s/ Paul Burt
                                                                       Signature of individual signing on behalf of debtor

                                                                       Paul Burt
                                                                       Printed name


                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            SaveUp Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)               17-35506
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,042,025.40


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,042,025.40




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         SaveUp Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         17-35506
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Lake Forest Bank.                                       Checking                        0834                                             $0.00




           3.2.     Lake Forest Bank                                        Checking                        1121                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         SaveUp Inc.                                                                   Case number (If known) 17-35506
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patent                                                                    $31,207.00                                                  $0.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         SaveUp Inc.                                                                  Case number (If known) 17-35506
                Name

            It owns its website, SaveUp.com, and the
            intellectual property associated with it.
            SaveUp's website was a financial management
            tool that allowed users the chance to win
            prizes for smart financial behavior.                                            $0.00                                             $0.00



 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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 Debtor          SaveUp Inc.                                                                                         Case number (If known) 17-35506
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Fill in this information to identify the case:

 Debtor name         SaveUp Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         17-35506
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         SaveUp Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)           17-35506
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $35,560.00
           American Express                                                     Contingent
           PO Box 0001                                                          Unliquidated
           Los Angeles, CA 90096                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      SaveUp Inc.
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $33,450.00
           Barryillium Labs LLC                                                 Contingent
           10248 Brushfield Lane                                                Unliquidated
           Fishers, IN 46037
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      Saveup Inc.
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $5,576.93
           Caitlin Schott                                                       Contingent
           303 W Ohio                                                           Unliquidated
           Apartment 2605
                                                                                Disputed
           Chicago, IL 60654
           Date(s) debt was incurred
                                                                             Basis for the claim:    DOL Wage claim
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $2,000.00
           California Labor Commissioner                                        Contingent
           455 Golden Gate Ave 10th Floor                                       Unliquidated
           San Francisco, CA 94102
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Christian DeHoyos v WL Benefits Group
           Last 4 digits of account number      65EK
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 5
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 Debtor       SaveUp Inc.                                                                             Case number (if known)            17-35506
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,000.00
          Christian DeHoyos                                                     Contingent
          157 Elm Street #101                                                   Unliquidated
          San Mateo, CA 94401                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,262.50
          Cohen Silverman Rowan LLP                                             Contingent
          6662 Gunpark Drive                                                    Unliquidated
          Suite 202                                                             Disputed
          Boulder, CO 80301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       Saveup Inc.                  Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,000.00
          Dave Trace                                                            Contingent
          1002 Aynsley Ave                                                      Unliquidated
          Lake Forest, IL 60045
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Department of Labor                                                   Contingent
          160 N LaSalle Street                                                  Unliquidated
          13th Floor
                                                                                Disputed
          Chicago, IL 60601-3150
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       Gace                         Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Department of Labor                                                   Contingent
          160 N LaSalle Street                                                  Unliquidated
          13th Floor
                                                                                Disputed
          Chicago, IL 60601-3150
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       iler                         Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $545,000.00
          Horwood Marcus Berk                                                   Contingent
          500 W Madison Suite 3700                                              Unliquidated
          Chicago, IL 60661
                                                                                Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Load Delivery Logistics v Saveup
          Last 4 digits of account number 0195
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $152,000.00
          Horwood Marcus Berk                                                   Contingent
          500 W Madison Suite 3700                                              Unliquidated
          Chicago, IL 60661
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Beacon Hill Staffing v SaveUp Inc.
          Last 4 digits of account number       2521
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 5
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 Debtor       SaveUp Inc.                                                                             Case number (if known)            17-35506
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,755,568.00
          Hunt & Henriques                                                      Contingent
          151 Bernal Road Suite B                                               Unliquidated
          San Jose, CA 95119
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Yodlee v SaveUp Inc.
          Last 4 digits of account
          number Yodlee v SaveUp              Inc.                           Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Illinois Department of Labor                                          Contingent
          160 N LaSalle Street                                                  Unliquidated
          13th Floor
                                                                                Disputed
          Chicago, IL 60601-3150
          Date(s) debt was incurred
                                                                             Basis for the claim:    Disputed wage claims
          Last 4 digits of account number       1698;7477;7468               Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $17,245.00
          Jansson Munger McKinley & Kirby                                       Contingent
          207 E Westminster Ave                                                 Unliquidated
          Suite 205
                                                                                Disputed
          Lake Forest, IL 60045
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       SaveUp Inc.                  Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $80,000.00
          Mark S. Lichtman                                                      Contingent
          222 N LaSalle #300                                                    Unliquidated
          Chicago, IL 60601
                                                                                Disputed
          Date(s) debt was incurred      2017
                                                                             Basis for the claim:    Bairsedev v SaveUp Inc.
          Last 4 digits of account number       9518
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $375,000.00
          Matthew B. Schiff                                                     Contingent
          Sugar Felsenthal Grais & Hammer LLP                                   Unliquidated
          30 N LaSalle #3000
                                                                                Disputed
          Chicago, IL 60602
          Date(s) debt was incurred
                                                                             Basis for the claim:    Kian Sarreshteh v SaveUp
                                                                             2016 CH 290
          Last 4 digits of account
                                                                             Lake County
          number Kian Sarreshteh             v SaveUp
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Michael Taege                                                         Contingent
          800 Northwest Hwy                                                     Unliquidated
          Suite 506
                                                                                Disputed
          Palatine, IL 60074
          Date(s) debt was incurred  9/2017                                  Basis for the claim:    Bizintech v. SaveUp Inc.
          Last 4 digits of account number L711                               Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $71,562.97
          Robert S. Reda                                                        Contingent
          736 N Western Ave                                                     Unliquidated
          Suite 353
                                                                                Disputed
          Lake Forest, IL 60045
          Date(s) debt was incurred 9/2017
                                                                             Basis for the claim:    Reda & DesJardins v SaveUp Inc.
          Last 4 digits of account number L708                               Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 5
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 Debtor       SaveUp Inc.                                                                             Case number (if known)            17-35506
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Stephen Sarver                                                        Contingent
          1843 Rosemary Lane                                                    Unliquidated
          Gurnee, IL 60031
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $88,000.00
          Synergy Law Group LLC                                                 Contingent
          730 W Randolph Suite 600                                              Unliquidated
          Chicago, IL 60661
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $35,000.00
          The Tarpey Firm                                                       Contingent
          225 W Wacker Drive                                                    Unliquidated
          Suite 1515
                                                                                Disputed
          Chicago, IL 60606
          Date(s) debt was incurred
                                                                             Basis for the claim:    Grenville v SaveUp Inc.
          Last 4 digits of account number       SaveUp Inc.                  Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30,000.00
          Visa Black Card                                                       Contingent
          PO Box 13337                                                          Unliquidated
          Philadelphia, PA 19101-3337                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $33,400.00
          Wagoner Falconer & Judd                                               Contingent
          325 N Corporate Drive Suite 100                                       Unliquidated
          Brookfield, WI 53045
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FGMK
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Westlake Financial Group                                              Contingent
          1477 Barclay Blvd                                                     Unliquidated
          Buffalo Grove, IL 60089                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SaveUp Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,400.00
          William Jeffrey Factor                                                Contingent
          105 W Madison Suite 1500                                              Unliquidated
          Chicago, IL 60602
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rogic LLC v SaveUp Inc.
          Last 4 digits of account number       2041
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 5
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                 Case 17-35506                    Doc 8          Filed 12/19/17 Entered 12/19/17 11:30:38                                          Desc Main
                                                                  Document     Page 12 of 14
 Debtor       SaveUp Inc.                                                                             Case number (if known)            17-35506
              Name

 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $700,000.00
           Williams Montgomery & John Ltd.                                      Contingent
           233 S Wacker Drive                                                   Unliquidated
           Suite 6100
                                                                                Disputed
           Chicago, IL 60606
           Date(s) debt was incurred
                                                                             Basis for the claim:    Grenville v SaveUp Inc.
           Last 4 digits of account number      v810                         Is the claim subject to offset?        No      Yes

 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           WL Benefits Group Inc.                                               Contingent
           2345 Waukegan Road                                                   Unliquidated
           Suite 140                                                            Disputed
           Deerfield, IL 60015
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      SaveUp Inc.                  Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       FGMK
           333 W Wacker Dr                                                                            Line     3.23                                    SaveUp Inc.
           6th Floor
                                                                                                             Not listed. Explain
           Chicago, IL 60606

 4.2       Grenville Strategic Royalty Corp.
           220 Bay Street                                                                             Line     3.21
           Suite 550
                                                                                                             Not listed. Explain
           Toronto Ontario M5J 2W4 Canada


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                   4,042,025.40

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      4,042,025.40




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5
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                 Case 17-35506                    Doc 8          Filed 12/19/17 Entered 12/19/17 11:30:38                      Desc Main
                                                                  Document     Page 13 of 14
 Fill in this information to identify the case:

 Debtor name         SaveUp Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         17-35506
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                 Case 17-35506                    Doc 8          Filed 12/19/17 Entered 12/19/17 11:30:38                  Desc Main
                                                                  Document     Page 14 of 14
 Fill in this information to identify the case:

 Debtor name         SaveUp Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         17-35506
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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